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                       EXHIBIT 3
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                              U.S. Department of Justice                                                                                              Southwest Laboratory
                              Drug Enforcement Administration                                                                                         Vista, CA



                                                                                                                                                                    Chemical Analysis Report
Los Angeles HIDTA TFG
1340 West Sixth Street                                                                                                   LIMS Number: 2023-SFL8-07085
Los Angeles, CA 90017


Observations, Results and Conclusions:

     Exhibit                                Substance(s) Identified                                           Net Weight                         Substance Purity                   Amount Pure Substance
       14                                            Cocaine                                                 19.7 g ± 0.2 g                               ----                                 ----

Remarks:
The net weight represents the weight of all material, excluding the packaging.

The net weight was determined by direct weighing of all unit(s). The net weight uncertainty value represents an expanded uncertainty
estimate at the 95% level of confidence.

Exhibit Details:
Date Accepted by Laboratory: 11/27/2023                                         Gross Weight: 71.3 g                                                     Date Received by Examiner: 11/30/2023

Exhibit                         No. Units                             Pkg. (Inner)                                      Form                                                  Reserve Wt.
14                                    1                           Ziplock Plastic Bag                                  Powder                                                     19.7 g
Remarks:

Exhibit Analysis:
Sampling:
Cocaine identified in 1 unit(s) tested.
Exhibit           Summary of Test(s)
14                 Cobalt (II) Thiocyanate Color Test, Gas Chromatography/Mass Spectrometry




                        The following summary of testimony is provided as required by Federal Rule of Criminal Procedure 16(a)(1)(G) and is a complete statement of my opinions, which
                          are exclusive to and address only the exhibit(s) identified in this summary. I am employed by the U.S. Department of Justice, Drug Enforcement Administration
                               (DEA) and was so employed when I conducted the examinations and analyses of the above referenced LIMS number. My qualifications to conduct the
                         examinations and analyses, and to express an opinion as to the identity of the material contained in the exhibit(s) described above, are based on my knowledge,
                            skill, experience, training, and education. See my Curriculum Vitae (which will be provided prior to the close of expert discovery) for additional information
                              regarding my qualifications, including previous testimony offered in the last four years and any publications authored in the last ten years. The opinions
                         described are based on the listed chemical, physical, and instrumental analyses, the results generated by those analyses, and my interpretation of those results
                        set forth in the laboratory report and analyst notes. The manner and process by which I performed the analyses were, to the best of my knowledge, in accordance
                             with the publicly available Analysis of Drugs Manual (ADM) and Laboratory Operations Manual (LOM), in effect at the time of analysis. These are generally
                            available at: https://www.dea.gov/resources/documents?f%5B0%5D=publication type%3A2596, or were otherwise disclosed upon request. I analyzed the
                         material contained in the exhibit(s) which were submitted for analysis in the above referenced LIMS number. Refer to this laboratory report associated with the
                         subject LIMS number. The analytical methods used in these analyses are validated and verified according to our quality assurance policy to ensure the methods
                               are reliable and fit-for-purpose and the techniques utilized are widely accepted and employed in the scientific and forensic community. Summaries of
                           instrumental methods are available at: https://www.dea.gov/resources/documents?f%5B0%5D=publication_type%3A2596. This report, its attachments, and
                         the referenced documents are not an exhaustive or complete recitation of testimony that I may offer. In addition, I may offer opinions in response to questions
                           posed during trial. Pursuant to Fed. R. Crim. P. 16(a)(1)(G)(v), I, the analyst, approve the foregoing disclosure, and reserve the right to amend as necessary to
                                                                                            comply with Rule 16’s obligations.




The terminology used in the preparation of this report is consistent with the current Department of Justice Uniform Language for Testimony and Reports for
General Forensic Chemistry and Seized Drug Examinations.

Analyzed By: /S/ James S. Joseph, Senior Forensic Chemist                                                                                                        Date: 12/08/2023
Approved By: /S/ Andrea N. Larick, Senior Forensic Chemist                                                                                                       Date: 12/08/2023

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